                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:13 CR 79-10


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )            ORDER
                                             )
JOHN LOUIS PIVONKA,                          )
                                             )
                 Defendant.                  )
____________________________________         )


        THIS CAUSE coming on to be heard before the undersigned upon a

Violation Report (#159) filed in the above entitled cause by the United States

Probation Office. In the Violation Report, the United States Probation Office

alleges that Defendant has violated terms and conditions of his pretrial release. At

the call of this matter on for hearing it appeared the Defendant was present with his

counsel, Rodney Hasty, and the Government was present through Assistant United

States Attorney, John Pritchard.      From the evidence offered and from the

statements of the Assistant United States Attorney and the attorney for the

Defendant, and the records in this cause, the Court makes the following findings.

        Findings:   At the call of the matter, the Defendant, by and through his

attorney, admitted the allegations contained in the Violation Report.            The

Government introduced, without objection, the Violation Report into evidence.

        The Defendant was charged in a bill of indictment (#3) filed on December 3,



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2013 with one count of conspiracy to distribute methamphetamine, in violation of

21 U.S.C. § 841(a)(1) and 846 and three counts of possession of methamphetamine

with intent to distribute, in violation of 21 U.S.C. § 841(a)(1). On January 15,

2014, the undersigned entered an order releasing Defendant on a $25,000

unsecured bond (#82). On February 19, 2014, the undersigned modified the terms

and conditions of release (#114).

      The conditions of release of Defendant included the following:

      (1)   That the defendant shall not commit any offense in violation of

            federal, state or local law while on release in this case.

      (8)(p) Defendant must refrain from use or unlawful possession of a narcotic

            drug or other controlled substances defined in 21 U.S.C. § 802, unless

            prescribed by a licensed medical practitioner.

      (8)(s) Defendant was placed on home detention which restricted him to his

            residence at all times except for employment, education, religious

            services, or other activities. And

      (8)(t) Defendant was required to be upon electronic monitoring.

      On April 21, 2014 and April 28, 2014, Defendant submitted to a urinalysis

drug test and he tested positive for the use of amphetamines. On April 26, 2014,

Defendant had unauthorized leave from his location monitoring during the period


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from 12:13 p.m. until 3:15 p.m. on April 26, 2014 without valid excuse.

       Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial

officer -----

       (1)    finds that there is----
              (A) probable cause to believe that the person has committed a
       Federal, State, or local crime while on release; or
              (B) clear and convincing evidence that the person has violated any
        other condition of release; and
       (2) finds that ---
              (A) based on the factors set forth in section 3142(g) of this title, there
       is no condition or combination of conditions of release that will assure that
       the person will not flee or pose a danger to the safety of any other person or
       the community; or
              (B) the person is unlikely to abide by any condition or combination
       of conditions of release.

      If there is probable cause to believe that, while on release, the person
committed a Federal, State, or local felony, a rebuttable presumption arises that no
condition or combination of conditions will assure that the person will not pose a
danger to the safety of any other person or the community.”

       Based upon the evidence, the undersigned finds there is probable cause to

believe Defendant committed a federal or state crime while on release.             The

Defendant possessed methamphetamine on two occasions so he could consume

that substance.    That possession violated both state and federal law.            The

possession of methamphetamine is a misdemeanor under federal law. 21 U.S.C. §

844. The possession of methamphetamine is a felony under state law. N.C.G.S. §


                                           3



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90-95(a)(3). Due to the fact there is probable cause to believe that Defendant

committed a state felony, a rebuttable presumption, arises, pursuant to 18 U.S.C. §

3148, that no condition or combination of conditions of release would assure that

Defendant would not pose a danger to the safety of any other person or the

community. There has been further shown by clear and convincing evidence that

Defendant violated other conditions of release in that it has been shown that

Defendant used amphetamine which is a controlled substance defined in 21 U.S.C.

§ 802 which is not prescribed by any license medical practitioner. Defendant has

further violated the terms and conditions of pretrial release in that he was away

from his electronic monitoring and home detention on April 26, 2014 from 12:13

p.m. until 3:15 p.m. without valid excuse.

      Due to the findings made above and further considering the presumption that

has been created by 18 U.S.C.§ 3148 and also considering the factors as set forth

under 18 U.S.C. § 3142(g), it appears there is no condition or combination of

conditions of release that will assure that Defendant will not pose a danger to the

safety of any other person or the community. It is the opinion of the undersigned

that based upon Defendant’s actions, it is unlikely that the Defendant will abide by

any condition or combination of conditions of release. As a result of the above

referenced findings, the undersigned has determined to enter an order of revocation


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revoking the unsecured bonds entered in this matter and entering an order

detaining Defendant.

                                    ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bonds (#82) and

(#114) and the terms and conditions of pretrial release entered in this matter are

hereby REVOKED and it is ordered that Defendant be detained pending further

proceedings in this matter.

                                             Signed: May 15, 2014




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